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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

Brianna Boe, et al.,                         )
Plaintiffs,                                  )
                                             )
United States of America,                    )
Intervenor Plaintiff,                        )
                                             )
v.                                           ) Civil Action No. 2:22-cv-184-LCB
                                             )
Hon. Steve Marshall, in his official         )
capacity as Attorney General,                )
of the State of Alabama, et al.,             )
                                             )
Defendants.                                  )

       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION
               FOR PARTIAL JUDGMENT ON THE
              UNITED STATES’ PLEADINGS (DOC. 92)

       Upon consideration of Defendants’ motion for partial judgment on the United

States’ pleadings (Doc. 92), it is hereby:

       ORDERED that the motion for partial judgment on the pleadings to the extent

that the United States’ claim is based on the subjective motivation, intent, or purpose

of the Alabama Legislature in enacting the Vulnerable Child Compassion and Pro-

tection Act is GRANTED.

Dated: ________________                 BY THE COURT:

                                        _________________________
                                        LILES C. BURKE
                                        UNITED STATES DISTRICT JUDGE
